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13                                UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15                                    SAN FRANCISCO DIVISION

16   NATIONAL TPS ALLIANCE, MARIELA                  Case No. 3:25-CV-01766-EMC
     GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
17   M.H., CECILIA DANIELA GONZÁLEZ                  DECLARATION OF AHILAN T.
     HERRERA, ALBA CECILIA PURICA                    ARULANANTHAM IN SUPPORT OF
18   HERNÁNDEZ, E.R., and HENDRINA VIVAS             PLAINTIFFS’ ADMINISTRATIVE
     CASTILLO,                                       MOTION FOR ORDER SHORTENING
19                                                   TIME AND SETTING SCHEDULE
                   Plaintiffs,
20
            vs.
21
     KRISTI NOEM, in her official capacity as
22   Secretary of Homeland Security, UNITED
     STATES DEPARTMENT OF HOMELAND
23   SECURITY, and UNITED STATES OF
     AMERICA,
24
                   Defendants.
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                               ARULANANTHAM DECLARATION IN SUPPORT OF
                  PLAINTIFFS’ ADMINISTRATIVE MOTION FOR ORDER SHORTENING TIME AND
                           SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
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                               ARULANANTHAM DECLARATION IN SUPPORT OF
                  PLAINTIFFS’ ADMINISTRATIVE MOTION FOR ORDER SHORTENING TIME AND
                           SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
        Case 3:25-cv-01766-EMC            Document 46        Filed 02/24/25      Page 3 of 4



1           I, Ahilan T. Arulanantham, declare as follows:

2           1.      I am an attorney at law duly licensed and entitled to practice in the State of

3    California. I am a Professor from Practice and Faculty Co-Director at the Center for Immigration

4    Law and Policy (CILP) UCLA School of Law, counsel of record in this action for Plaintiffs. I have

5    personal knowledge of the facts set forth in this declaration and, if called as a witness, I could and

6    would testify competently thereto.

7           2.      I file this Declaration in support of the Plaintiffs’ Administrative Motion for Order

8    Shortening Time and Setting Schedule (“Motion”).

9           3.      This matter pertains to the Department of Homeland Security’s decision to “vacate”

10   the January 17, 2025 extension of Temporary Protected Status (“TPS”) for Venezuela and replace it

11   with a termination. The termination will go into effect on April 3, 2025, when employment

12   authorization documents for nearly 350,000 Venezuelan TPS holders who initially registered for

13   TPS under Venezuela’s 2023 designation will expire; those TPS holders will become subject to

14   deportation on April 8, 2025.

15          4.      As explained in the Motion to which this Declaration is attached, Plaintiffs contend

16   that thousands of Venezuelan TPS holders, along with their families, employers, and broader

17   communities, are suffering irreparable economic and psychological harm due to their imminent loss

18   of employment authorization and immigration status. Plaintiffs contend that immediate relief is

19   necessary to prevent this substantial and irreparable harm.

20          5.      Plaintiffs have moved expeditiously to prepare this lawsuit and the Motion to

21   Postpone Effective Date of Effective Action (“Motion to Postpone”) Defendants’ actions. Plaintiffs

22   filed the Complaint on February 19, 2025—just over two weeks after they learned of the first of the

23   orders challenged here. Plaintiffs filed the Motion to Postpone the next day, on February 20, 2025.

24          6.      On February 21, 2025, I emailed counsel for Defendants and proposed an expedited

25   schedule for the Motion to Postpone. On February 24, 2025, counsel for Defendants indicated that

26   they could not agree to any expedited briefing or hearing schedule. See Exhibit 1.

27          I declare under penalty of perjury under the laws of the United States of America that the

28                                                 1
                               ARULANANTHAM DECLARATION IN SUPPORT OF
                           PLAINTIFFS’ MOTION FOR ORDER SHORTENING TIME AND
                            SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
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 1   foregoing is true and correct.

 2

 3          Executed this 24th day of February 2025, in Los Angeles, California.

 4
                                                 /s/ Ahilan T. Arulanantham____
 5                                              Ahilan T. Arulanantham
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                               ARULANANTHAM DECLARATION IN SUPPORT OF
                  PLAINTIFFS’ ADMINISTRATIVE MOTION FOR ORDER SHORTENING TIME AND
                           SETTING SCHEDULE – CASE NO. 3:25-CV-01766-EMC
